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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA


                             Alexandria Division




  JK MOVING & STORAGE, INC.,

        Plaintiff,

  V.                                   Civil Action No. l:17-cv-1213


  WINMAR CONSTRUCTION, INC.,


        Defendant.




                             Memorandim Opinion

        THIS MATTER comes before the Court on Plaintiff's Motion


  for Attorneys' Fees and Costs.

        JK Moving & Storage, Inc. (Plaintiff) is a Virginia

  corporation in the moving, storage, and relocation industry.

  Winmar Construction, Inc. (Defendant) is a commercial interior

  and hospitality construction company incorporated in the

  District of Columbia with license to conduct regular business in

  Virginia. In October 2017, Plaintiff filed a lawsuit alleging

  breach of contract (Count I) and fraud (Count II) against

  Defendant in Loudon County, Virginia. The case was timely

  removed to this Court. Defendant-also sued Plaintiff in the


  District of Columbia; those claims were ultimately dismissed and

  then raised as affirmative defenses in this case. On May 16,

  2018, the magistrate judge entered a consent order (Consent
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